       Case 1:23-cv-00047-JRH-BKE Document 35 Filed 07/12/23 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION

ROBERT M. TAYLOR, III, et al.,       )
                                     )
          Plaintiffs,                )
                                     )
     v.                              )                         CV 123-047
                                     )
UNIVERSITY HEALTH SERVICES, INC. and )
PIEDMONT HEALTHCARE, INC.,           )
                                     )
          Defendants.                )
                              __________

                                             ORDER
                                             __________

       In the Rule 26(f) Report filed on July 11, 2023, (doc. no. 33), the parties agree discovery

should not occur until the District Judge rules on their pending motions, thus, the Court STAYS

all discovery pending a ruling on Defendants’ Motion to Dismiss, (doc. no. 4), and Plaintiffs’

Motion for Remand, (doc. no. 8). The Court DIRECTS the CLERK to terminate the motion

associated with the Rule 26(f) Report. (Doc. no. 33.) The parties shall confer and submit a second

Rule 26(f) Report, with proposed case deadlines, within seven days of the presiding District Judge’s

ruling. In the event the presiding District Judge, in his ruling on the pending motions, provides

further instruction to the parties that justifies continuation of the stay, the parties shall inform the

undersigned to that effect in a status report to be filed within seven days of the presiding District

Judge’s ruling.

       SO ORDERED this 12th day of July, 2023, at Augusta, Georgia.
